Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 1 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 2 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 3 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 4 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 5 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 6 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 7 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 8 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 9 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 10 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 11 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 12 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 13 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 14 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 15 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 16 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 17 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 18 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 19 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 20 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 21 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 22 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 23 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 24 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 25 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 26 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 27 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 28 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 29 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 30 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 31 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 32 of 34
Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 33 of 34
                                    /s/Foreperson




Case 1:14-cr-00123-CJW-MAR Document 2 Filed 10/30/14 Page 34 of 34
